Case 18-34808-SLM            Doc 982      Filed 06/30/20 Entered 06/30/20 16:08:11                   Desc Main
                                         Document      Page 1 of 3



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                            Order Filed on June 30, 2020
     RIKER, DANZIG, SCHERER, HYLAND &                                       by Clerk,
     PERRETTI LLP                                                           U.S. Bankruptcy Court
     Joseph L. Schwartz (JS-5525)                                           District of New Jersey

     Tara J. Schellhorn (TS-8155)
     Headquarters Plaza, One Speedwell Avenue
     Morristown, NJ 07962-1981
     Telephone: (973) 583-0800
     -and-
     PACHULSKI STANG ZIEHL & JONES LLP
     Bradford J. Sandler (NJ Bar No. BS-1367)
     Shirley S. Cho (admitted pro hac vice)
     780 Third Avenue, 34th Floor
     New York, NY 10017

     Counsel to the Liquidating Trust

     In re:                                                      Chapter 11

     FRANK THEATRES BAYONNE/SOUTH                                Case No. 18-34808 (SLM)
     COVE, LLC, et al.,1
                                                                 (Jointly Administered)
                                       Debtors.


           ORDER FURTHER EXTENDING THE PERIOD WITHIN WHICH THE
        LIQUIDATING TRUST MAY OBJECT TO GENERAL UNSECURED CLAIMS


         The relief set forth on the following pages, numbered two (2) through and including three (3),
is hereby ORDERED.



 DATED: June 30, 2020



 1
   The Post-Confirmation Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer
 identification number are as follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank All Star Theatres,
 LLC (0420); Frank Theatres Kingsport LLC (5083); Frank Theatres Montgomeryville, LLC (0692); Frank Theatres
 Rio, LLC (1591); Frank Theatres Towne, LLC (1528); Frank Theatres Mt. Airy, LLC (7429); Frank Theatres
 Sanford, LLC (7475); Frank Theatres Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of
 Saucon Valley LLC (1135); Frank Entertainment Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033);
 Frank Hospitality Saucon Valley LLC (8570); and Galleria Cinema, LLC (2529).
Case 18-34808-SLM               Doc 982      Filed 06/30/20 Entered 06/30/20 16:08:11                        Desc Main
                                            Document      Page 2 of 3
 Page:           2
 Debtors:        Frank Theatres Bayonne/South Cove, LLC, et al.
 Case No.:       18- 34808 (SLM)
 Caption:        Order Further Extending the Period Within Which the Liquidating Trustee May
                 Object to General Unsecured Claims


                     Upon consideration of the Liquidating Trust’s Motion for Entry of an Order

 Further Extending the Period Within Which the Liquidating Trustee May Object to General

 Unsecured Claims (the “Motion”)2 filed by Advisory Trust Group, LLC, in its capacity as Trustee

 (the “Liquidating Trustee”) of the Frank Theatres Liquidating Trust, and it appearing that the relief

 requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and all other

 parties in interest; and the Court having jurisdiction to consider the Motion and the relief requested

 therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper in this Court pursuant to 28

 U.S.C. §§ 1408 and 1409; and it appearing that no other or further notice need be provided; and

 no objections to the Motion having been filed; and after due deliberation and sufficient cause

 appearing therefor,

                     IT IS HEREBY ORDERED THAT:

                     1.       The Motion is GRANTED as set forth herein.

                     2.       The time period within which the Liquidating Trust may file objections to

 general unsecured claims is enlarged and extended through and including the later of: (a) January

 25, 2021, or (b) one hundred eighty (180) days following the date that a proof of Claim is filed

 or amended or a Claim is otherwise asserted or amended in writing by or on behalf of a holder

 of such Claim (the “Claims Objection Deadline”).

                     3.       This Order shall be without prejudice to the rights of the Liquidating Trust

 to seek further extensions of the Claims Objection Deadline.


 2
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
Case 18-34808-SLM         Doc 982    Filed 06/30/20 Entered 06/30/20 16:08:11              Desc Main
                                    Document      Page 3 of 3
 Page:       3
 Debtors:    Frank Theatres Bayonne/South Cove, LLC, et al.
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             Object to General Unsecured Claims


                4.      This Court shall retain exclusive jurisdiction to interpret and enforce the

 provisions of this Order in all respects and further to hear and determine all matters arising from

 the construction and implementation of this Order.




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